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                  UNITED STATES BANKRUPTCY COURT
                    SOUTHERN DISTRICT OF TEXAS
                          VICTORIA DIVISION

In re:                                    §
                                          §
Port Arthur Steam Energy, L.P.            §    Case No.
                                          §
    Debtor.                               §    Chapter 11 (Subchapter V)
                                          §
                                          §


                    CHAPTER 11 (SUBCHAPTER V) PLAN

      COMES NOW, Port Arthur Steam Energy, L.P., Debtor, and Debtor-In-
Possession, and files this Chapter 11 Plan, dated April 14, 2021, pursuant to
Subchapter V, 11 U.S.C. § 1189.

HISTORY OF THE DEBTOR

       Port Arthur Steam Energy, L.P. (“PASE”) was formed in November 2004
to purchase and rehabilitate the steam cogeneration facility (the “Facility”)
previously operated by Dynegy Inc. and located at the Port Arthur, Texas
calcining plant of Oxbow Carbon and Minerals LLC (“Oxbow”). American
Industrial Partners Capital Fund III, L.P. (the “Partnership”) invested $38.5
million in the rehabilitation of the Facility, which was completed in August of
2005, six months ahead of schedule.

       The Facility was originally built in 1983 and operated profitably for nearly
twenty years. The Facility purchased waste heat from Oxbow based on a long-
term contract, converted the heat principally to steam, and sold the steam to a
neighboring Chevron petroleum refinery under a long term take-or-pay contract.
In 2000, when the steam contract expired, the Facility’s owner, Dynegy Inc., sold
it to Oxbow for a nominal amount and the Facility was mothballed.

      The nearby refinery, now owned by Valero Energy Corp. (NYSE: VLO),
underwent a 40% capacity expansion that significantly increased its demand for
steam energy. PASE negotiated an 18 year take-or-pay contract to sell steam to
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Valero based on the spot price of natural gas. In addition, PASE negotiated an
eighteen (18) year waste heat purchase agreement with Oxbow which provided
Oxbow with 30% of the project’s third-party steam and electricity revenues.

       Oxbow permanently stopped all delivery of flue gas energy to PASE on
June 25, 2018 based upon a manufactured pretext, effectively shutting down
PASE’s entire steam plant and business, despite multiple years for performance
remaining under the Heat Agreement. As a result of Oxbow’s termination of all
flue gas energy to PASE, PASE could not perform under its contract with its
customer, Valero, and Valero terminated that contract.

       PASE has no remedy under the Heat Agreement’s arbitration provisions
and exculpatory provisions, and during the last arbitration between the parties,
Oxbow unilaterally destroyed the only potential remedy that was left to PASE
under the Heat Agreement’s arbitration and exculpatory provisions, injunctive
relief, by orchestrating the removal of the air permits required for PASE to
operate. After the last arbitration between the parties was completed, Oxbow
breached an agreement to pay PASE for the approximately $163,332.19 in
electricity that PASE bought and provided to Oxbow based on Oxbow’s broken
promise to pay for it. Litigation continues between the parties.

       Oxbow also owns, operates and maintains three emission stacks used to
emit calcining flue gas from their kiln operation. These particular stacks are
referred to as "cold stacks" since they are attached to the outlet of the PASE
boilers after extraction of heat energy from the flue gas. The flue gas is produced
by Oxbow, and released by Oxbow through these stacks into the atmosphere
under its air permit. Corrosive liquid is now leaking out of the cold stacks into
the PASE fan housings and require repair/replacement. Approximately 5 years
has passed since the cold stacks were replaced, meaning that the cold stacks are
now significantly weakened and could potentially fail as in the past when the #3
cold stack catastrophically failed on November 28, 2016. Therefore, it is not
possible for PASE to perform asset removal of much of its major equipment such
as the boilers, hot flue gas ducting, and associated pipe-racks. PASE has no
responsibility for the cold stacks or the flue gas emissions. Further PASE cannot
work on the cold stacks since PASE does not own the cold stacks. Oxbow is
responsible for the maintenance and repair of the Cold Stacks.

      This bankruptcy has resulted.
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LIQUIDATION ANALYSIS

   a.   Cash On Hand                         $250,000.00
   b.   Accounts Receivable                  $160,000.00
   c.   Office Furniture and Equipment       $0.00
   d.   Machinery & Equipment                $3,300,000.00
   e.   Automobiles                          $71,000.00
   f.   Customer List                        $0.00
   g.   Lawsuits                             $7,000,000.00
   h.   TOTAL                                      $10,781,000.00

   LESS:
   i. Secured Claims                         $0.00
   j. Chapter 7 Fees                         $1,000,000.00
   k. Admin Expenses                         $750,000.00
   l. Priority Claims                        $0.00


   m. Balance For Unsecured Claims                        $9,031,000.00
   n. Total Dollar Amount Of Unsecured Claims             $225,000.00

        Percentage In A Chapter 7                               100%
        Percentage Under The Plan                               100%

PROJECTIONS/FEASIBILITY

      The Debtor will proceed to liquidate in an orderly fashion, collecting on its
receivables, prosecuting it claims and recovering on any judgments awarded.
Funds will then be distributed to allowed claims in an orderly, pro-rata fashion.
The Debtor will have sufficient projected disposable income (as defined by §
1191(d) of the Bankruptcy Code) to fund the payments required by this Plan. The
proposed payments pursuant to the Plan are as follows:

Term of the Plan:        60 months, in quarterly payments, if and when funds are
available (the “Plan Term”).
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     Beginning     Ending       Total      Quarterly       Total      Quarterly     Total
      Month        Month     Amount of      Savings      Forecast     Available   Available
                             Quarterly       Fund      Savings Fund      for         for
                              Payment       Deposit      Deposits     Creditors   Creditors
                                                                         and         and
                                                                       Reserve     Reserve
                                                                        Funds       Funds
        1        60         As Available   N/A         N/A            $           $




                                  Grand                N/A                        $
                                  Total:




The final Plan payment is expected to be paid on or before the 60th month
following the Effective Date.

       Assumptions utilized for the projections: The Debtor is assuming the
ability to perform an orderly liquidation of its equipment and machinery, and to
collect on its outstanding judgments. In addition, it is assumed that pending and
proposed litigation will be prosecuted and concluded within the Plan Term.

1. SUMMARY

   1.1. This Plan of Reorganization (the “Plan”) proposes to pay creditors from
        the ongoing operation/liquidation of the Debtor’s business.
   1.2. This Plan provides the following classes of claims:
      1.2.1. Class 1 - Priority Claims;
      1.2.2. Class 2 - Secured Claims;
      1.2.3. Class 3 - Non-priority Unsecured Claims; and
      1.2.4. Class 4 - Equity Security Holders.

   1.3. Class 3 Claims - Non-priority Unsecured Creditors holding allowed claims
        will receive distributions, which the Debtor estimates at approximately 100
        cents on the dollar.
   1.4. This Plan also provides for the payment of administrative and priority
        claims.
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   1.5. All fees required to be paid under 28 U.S.C. § 1930 that are owed on or
        before the effective date of this Plan have been paid or will be paid on the
        effective date.
   1.6. All creditors and equity security holders should refer to Articles 3 through
        6 of this Plan for information regarding the precise treatment of their
        claim.
   1.7. You should read these papers carefully and discuss them with your
        attorney, if you have one. (If you do not have an attorney, you may wish to
        consult one.)

2. CLASSIFICATION OF CLAIMS AND INTERESTS:

   2.1. Class 1 ................................
      2.1.1. All allowed claims entitled to priority under § 507(a) of the Code.
   2.2. Class 2 ...................................
      2.2.1. All allowed claims secured by property of the estate, to the extent
           allowed as a secured claim under § 506 of the Code.
   2.3. Class 3 ...................................
      2.3.1. All non-priority unsecured claims allowed under § 502 of the Code.
   2.4. Class 4 ...................................
      2.4.1. Equity interests of the Debtor.

3. TREATMENT OF CLASS 1 - ADMINISTRATIVE EXPENSE CLAIMS AND
   PRIORITY CLAIMS

     3.1. Class 1 is unimpaired.
3.2. Priority Claims - Administrative expense claims and priority tax claims other
     than Domestic Support Obligations that are entitled to priority under 11 U.S.C.
     §§ 507(a)(2) through 507(a)(10) shall be paid. If a timely proof of claim is
     filed, the actual amount of the Priority Claim will be determined through the
     claims allowance process. Otherwise, the amount scheduled in this Plan, or an
     amount allowed by court order allowing the administrative claim will control:
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           Name of Holder           Amount of     Interest       Amount       First            Last       Total
                                     Priority       Rate            of      Payment          Payment
           of Priority Claim          Claim        Under         Periodic    of this          of this
                                                    Plan         Payment    Amount           Amount
                                                                            in Mo. #         in Mo. #
   ATTORNEY FEES (TO BE
   DETERMINED BY COURT
   APPROVAL PROCESS)

   INTERNAL            REVENUE
   SERVICE




  4. TREATMENT OF CLASS 2 – SECURED CLAIMS

          4.1. Class 2 is impaired. The Debtor is not aware of any Secured Claims.
          4.2. The property securing the claims in Class 2 will be liquidated by the
               Debtor free and clear of the liens, claims and encumbrances existing, and
               the liens of each of the holders of Class 2 Claims shall otherwise retain
               their prepetition character and enforceability, subject to 11 U.S.C. § 506,
               and any enforceable liens shall further attach to the proceeds of any sale or
               other disposition. Each holder of an allowed Class 2 Claim shall receive
               an amount equal to their allowed Secured Claim, without interest, within
               the Plan Term in full satisfaction of their claims against the Debtor or its
               property.

Name of      Claim    Collateral     Plan      Security           Quarterly Payment          Starting   Ending    Total
Holder                 Value       Interest   for Claim               Amount                 Month #    Month
   of                                Rate                                                                 #
                                                             P&I      Escrow 1       Total
Secured
 Claim
             $        $            %          See            $        $          $                                $
                                              Prepetition
                                              Security
                                              Documents

Cure         N/A
Claim 2



  1
    Only applicable if an escrow for ad valorem taxes or property insurance has been required by the holder of the
  security interest. If the collateral is a vehicle or other personal property, the “Escrow” amount should be $0.00.
  2
    In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim
  that will be fully paid during the term of the proposed Plan. As to each claim secured by a security interest, the
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Name of      Claim   Collateral     Plan      Security       Quarterly Payment          Starting    Ending    Total
Holder                Value       Interest   for Claim           Amount                 Month #     Month
   of                               Rate                                                              #
                                                           P&I    Escrow 1     Total
Secured
 Claim
Monthly      N/A
Contract
Pmt.

Total Debt   N/A
Claim




       4.3. The amount of secured claim to be paid under this Plan is the lesser of the
            amount of the Collateral Value and the allowed amount of the claim. If a
            timely proof of claim is filed, the amount of the claim will be determined
            through the claims allowance process. Otherwise, the amount scheduled in
            this Plan will control.
       4.4. Each claim secured by a security interest is designated to be in a separate
            class.
       4.5. Maintenance of Taxes and Insurance. The Debtor(s) must pay all ad
            valorem property taxes on property that is proposed to be retained under
            this Plan, with payment made in accordance with applicable non-
            bankruptcy law not later than the last date on which such taxes may be
            paid without penalty. The Debtor must maintain insurance on all property
            that serves to secure a loan and that is proposed to be retained under this
            Plan, as required by the underlying loan documents. This Paragraph does
            not apply to the extent that taxes and insurance are escrowed. Any holder
            of a secured claim may request in writing, and the Debtor must promptly
            provide proof of compliance with this Paragraph. If the Debtor fails to
            provide such proof within 30 days of receipt of a written request, the
            holder of the debt secured by a lien on the property may purchase such
            insurance or pay such taxes in accordance with its rights under applicable
            non-bankruptcy law. Unless otherwise ordered by the Court, payment
            under this Paragraph may not be undertaken by a transfer of the tax lien on
            the property.
       4.6. The Debtor retains the absolute right to prepay all, or a portion, of the
            outstanding debt to Class 2 at any time, without penalty.



  Debtor(s) must propose either (i) a Cure Claim and a Monthly Contract Payment; (ii) a Total Debt Claim; or (iii)
  in cases in which there is no Cure Claim, a Monthly Contractual Payment.
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5. TREATMENT OF CLASS 3 – NON-PRIORITY UNSECURED CLAIMS ALLOWED
   UNDER § 502.

  5.1. Class 3 is impaired.
  5.2. Unsecured creditors not entitled to priority and not specially classified
       shall comprise a single class of creditors. Allowed claims shall be paid a
       pro rata share of the amount remaining after payment of all secured,
       priority, and specially classified unsecured claims as funds become
       available and at the discretion of the disbursing agent.
  5.3. The Debtor retains the absolute right to prepay all, or a portion, of the
       outstanding debt to Class 3 at any time, without penalty.
  5.4. Class 3 will not be paid interest on their claims.

6. TREATMENT OF CLASS 4 – EQUITY INTERESTS OF THE DEBTOR.

  6.1. Class 4 is unimpaired.
  6.2. The Partnership interests in the Debtor shall remain unaffected by this
       Plan.

7. ALLOWANCE AND DISALLOWANCE OF CLAIMS.

  7.1. Disputed Claims:
     7.1.1. A disputed claim is a claim that has not been allowed or disallowed
          by a final non-appealable order, and as to which either:
        7.1.1.1. a proof of claim has been filed or deemed filed, and the Debtor
              or another party in interest has filed an objection; or
        7.1.1.2. no proof of claim has been filed, and the Debtor has scheduled
              such claim as disputed, contingent, or unliquidated.

     7.1.2. Delay of distribution on disputed claims:
        7.1.2.1. No distribution will be made on account of a disputed claim
              unless such claim is allowed by a final non-appealable order.

     7.1.3. Settlement of disputed claims:
        7.1.3.1. The Debtor will have the power and authority to settle and
              compromise a disputed claim with court approval and compliance
              with Rule 9019 of the Federal Rules of Bankruptcy Procedure.
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8. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

  8.1. Assumed executory contracts and unexpired leases:
     8.1.1. Except as set forth elsewhere in this Plan or in the following
          sentence, all executory contracts are rejected.

     8.1.2. A proof of a claim arising from the rejection of an executory
          contract or unexpired lease under this section must be filed no later
          than thirty (30) days after the date of the order confirming this Plan.

9. MEANS FOR IMPLEMENTATION OF THE PLAN

  9.1. On or after the Effective Date, the Debtor shall, in an safe, orderly and
       business-like manner, liquidate the assets of the Debtor.
  9.2. The Debtor shall collect all amounts due and owing to it, by utilizing any
       available means.
  9.3. The Debtor shall act as disbursing agent for all funds to be distributed
       pursuant to the Plan.
  9.4. All claims and causes of action against Oxbow Calcining, LLC, and all
       other persons or entities, including claims under Chapter 5 of the
       Bankruptcy Code are specifically reserved and shall be prosecuted or
       settled by the Reorganized Debtor.
  9.5. Upon confirmation, all property of the estate shall revest in the reorganized
       Debtor, free of any and all liens, claims and encumbrances, including
       rights of setoff and recoupment, except as otherwise provided in this Plan.

10.GENERAL PROVISIONS

     10.1.1.     Definitions and rules of construction - The definitions and
         rules of construction set forth in §§ 101 and 102 of the Code shall
         apply when terms defined or construed in the Code are used in this
         Plan.

     10.1.2.      Effective Date - The effective date of this Plan is the first
         business day following the date that is 14 days after the entry of the
         confirmation order. If, however, a stay of the confirmation order is in
         effect on that date, the effective date will be the first business day after
         the date on which the stay expires or is otherwise terminated.
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10.1.3.     Severability - If any provision in this Plan is determined to be
    unenforceable, the determination will in no way limit or affect the
    enforceability and operative effect of any other provision of this Plan.


10.1.4.      Binding Effect - The rights and obligations of any entity
    named, referred to, or has notice of this Plan will be binding upon, and
    will inure to the benefit of the successors or assigns of such entity.


10.1.5.      Captions - The headings contained in this Plan are for
    convenience of reference only and do not affect the meaning or
    interpretation of this Plan.


10.1.6.     Controlling Effect - Unless a rule of law or procedure is
    supplied by federal law (including the Code or the Federal Rules of
    Bankruptcy Procedure), the laws of the State of Texas govern this Plan
    and any agreements, documents, and instruments executed in
    connection with this Plan, except as otherwise provided in this Plan.


10.1.7.     Corporate Governance – The Debtor will be managed after
    the Effective Date by its existing General Partner.

10.1.8.     Retention of Jurisdiction - The Court shall retain and have
    exclusive jurisdiction over this Chapter 11 Case to the maximum
    extent provided by law for the following purposes following the
    Confirmation Date:


   10.1.8.1. To determine any and all objections to the allowance and
         classification of Claims or Interests;
   10.1.8.2. To determine the validity and priority of any Lien;
   10.1.8.3. To determine the Allowed Amount of any Claim, whether
         secured or unsecured;
   10.1.8.4. To allow any and all applications for allowances of
         compensation and reimbursement of expenses payable from the
         estate;
   10.1.8.5. To determine any and all applications or motions pending
         before the Court on the Effective Date of the Plan, including
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               without limitation any motions for the rejection, assumption or
               assumption and assignment of any executory contract or unexpired
               lease;
         10.1.8.6. To consider and approve any modification of this Plan, remedy
               any defect or omission or reconcile any inconsistency in the Plan,
               or any order of the Court, including the Confirmation Order;
         10.1.8.7. To hear and determine all controversies, suits and disputes that
               may arise in connection with the interpretation, enforcement or
               consummation of this Plan, the Confirmation Order, any
               transactions or payments contemplated hereby or any agreement,
               instrument or other document governing or related to any of the
               foregoing;
         10.1.8.8. To consider and act on the compromise and settlement of any
               claim or cause of action by or against the Debtor;
         10.1.8.9. To issue orders in aid of execution and implementation of this
               Plan and the Confirmation Order, to the extent authorized by 11
               U.S.C. § 1142 or provided by the terms of this Plan; and
         10.1.8.10.       To hear and determine matters concerning federal, state
               or local taxes in accordance with sections 346, 505 or 1146 of the
               Bankruptcy Code.

   10.2.     Limitation on Jurisdiction. In no event shall the provisions of this
       Plan be deemed to confer in the Bankruptcy Court jurisdiction greater than
       that established by the provisions of 28 U.S.C. §§ 157 and 1334.

11. Discharge
   11.1.    On the Effective Date of this Plan, the Debtor will be discharged
       from any debt that arose before confirmation of this Plan, pursuant to §
       1141(d)(1)(A) of the Code.
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Dated: April 14, 2021

AIP/PASE, LLC,
The Debtor’s General Partner

By: AIP/PASE HOLDINGS, INC.,
     its Managing Member
       /s/ Nathan Belden
     Nathan Belden
     its Secretary
